         Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 1 of 26




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

*************************************
Representative Robert R. Cushing, et al., *
                                          *
              Plaintiffs,                 *
       v.                                 *            Case No. 1:21-cv-00147-LM
                                          *
Representative Sherman Packard, et al.    *
                                          *
              Defendants.                 *
                                          *
*************************************

          MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS

                                            Introduction

       Six months ago, the First Circuit issued an en banc ruling in this case, comprehensively

explaining why absolute legislative immunity barred the plaintiffs’ challenge to the enactment

and enforcement of a parliamentary rule governing remote participation in floor sessions of the

New Hampshire House of Representatives. See Cushing v. Packard, 30 F.4th 27 (1st Cir. 2022)

(en banc). Undeterred, the plaintiffs have amended their complaint, adding three new defendants,

two new claims, and several pages of argument, rhetoric, and innuendo. See ECF Doc. No. 44.

But none of these additions alter the fact that the plaintiffs seek the same extraordinary relief

they have sought since this case first started: a federal-court order supplanting a state rule of

parliamentary procedure with one of the plaintiffs’ own choosing. The First Circuit has already

explained why such an order is incompatible with the protections legislative immunity affords. In

the face of the First Circuit’s decision, as well as other controlling and highly persuasive

authority, the plaintiffs’ claims cannot survive. The Court should therefore dismiss the First

Amended Complaint.
         Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 2 of 26




                                        Standard of Review

        Dismissal is appropriate if the well-pleaded facts, when assumed true, fail to state a claim

for relief. Barchock v. CVS Health Corp., 886 F.3d 43, 48 (1st Cir. 2018). “Well-pleaded facts

must be non-conclusory and non-speculative.” Id. (citation omitted). In resolving a motion to

dismiss, a court should “identify[] and disregard[] statements in the complaint that merely offer

legal conclusions couched as fact or threadbare recitals of the elements of a cause of action.”

Ocasio-Hernandez v. Fortuno-Burset, 640 F.3d 1, 12 (1st Cir. 2011) (citations, ellipsis, quotation

marks, and brackets omitted). A court should likewise disregard “bald conclusions, unrelieved

rhetoric, and pejorative epithets.” Viqueira v. First Bank, 140 F.3d 12, 15 (1st Cir. 1998). A court

may, however, consider “documents the authenticity of which are not disputed by the parties”;

“official public records”; “documents central to the plaintiffs’ claims”; and “documents

sufficiently referred to in the complaint.” Ironshore Speciality Ins. Co. v. United States, 871 F.3d

131, 135 (1st Cir. 2017).

                                            Background

        For the most part, the relevant background is set forth in detail in the First Circuit’s en

banc decision. See Cushing, 30 F.4th at 31–36. Because the parties and this Court are already

familiar with that background, and in the interest of brevity, the defendants only summarize it

here.

        At the time they filed their original complaint, seven of the plaintiffs were members of

the New Hampshire House of Representatives who alleged they had preexisting conditions that

made them particularly susceptible to severe illness or death should they contract Covid-19. Id.

at 30. The eighth plaintiff was the New Hampshire Democratic Party. Id. The plaintiffs brought

claims under Title II of the Americans with Disabilities Act, Section 504 of the Rehabilitation




                                                 -2-
          Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 3 of 26




Act, the Fourteenth Amendment, and the New Hampshire Constitution. ECF Doc. No. 1 ¶¶ 94–

133. They named the Speaker of the New Hampshire House in his official capacity as a

defendant, and sought a declaration that they were entitled to appear remotely in House floor

sessions and corresponding mandatory injunctive relief. Id. ¶ 15 & pp. 28–29.

         The plaintiffs also filed an “emergency” motion seeking a preliminary injunction

coterminous with the permanent injunction sought in their complaint. ECF Doc. No. 2. In

response to that motion, the Speaker argued, among other things, that the plaintiffs’ claims were

barred by the doctrine of absolute legislative immunity. ECF Doc. No. 17-1 at 3–13. Following

an expedited hearing, this Court issued a narrative order agreeing with the Speaker. See Cushing

v. Packard, 560 F. Supp. 3d 541 (D.N.H 2021). The Court concluded that the Speaker “is

immune from plaintiffs’ suit challenging his enforcement of a House rule that is closely related

to core legislative functions.” Id. at 548

         The plaintiffs appealed that decision to the First Circuit. After briefing and argument, a

panel vacated this Court’s decision, holding that Title II and Section 504 abrogate legislative

immunity. See Cushing v. Packard, 994 F.3d 51 (1st Cir. 2021). The Speaker sought rehearing of

that decision en banc, which the full court granted, vacating the panel’s decision. See Cushing,

30 F.4th at 30. The parties filed additional briefing, and the United States, upon the First

Circuit’s invitation, submitted an amicus brief in support of the plaintiffs’ position. See, e.g., id.

at 37.

         Following oral argument, the First Circuit issued a divided en banc decision affirming

this Court’s denial of the preliminary injunction. See generally id. at 30 (majority opinion); id. at

53 (Thompson, J., dissenting). In a decision spanning nearly 23 reporter pages, a three-judge

majority considered and rejected each argument the plaintiffs put forth for why legislative




                                                 -3-
         Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 4 of 26




immunity did not bar their claims. See id. at 30–53. The majority concluded that this Court did

not err in denying the plaintiffs’ motion for a preliminary injunction based that immunity. Id. at

53. In the majority’s view, the plaintiffs challenged a “quintessentially legislative act” to which

“protection of the immunity . . . has been historically afforded.” Id. (citation and quotation marks

omitted). 1

        Following remand, the Speaker moved to dismiss the plaintiffs’ original complaint based

on the reasoning in the First Circuit’s en banc decision. ECF Doc. No. 40. The plaintiffs then

moved, with the Speaker’s assent, to amend their complaint. ECF Doc. No. 42. The plaintiffs’

First Amended Complaint contains only a handful of substantive changes. The plaintiffs name

three additional defendants—Paul Smith in his official capacity as Clerk of the New Hampshire

House, the New Hampshire House of Representatives, and the State of New Hampshire. See

ECF Doc. No. 44 ¶¶ 1, 17–19. The plaintiffs also assert two new claims through a single

additional count—one under the First Amendment and one under Part I, Article 22 of the New

Hampshire Constitution. See id. ¶¶ 152–159. The plaintiffs acknowledge that two of the original

plaintiffs have passed away since the original complaint was filed, though they do not address

the legal significance of these facts. See id. ¶¶ 8–9. The plaintiffs also add a few new allegations

with respect to developments in the pandemic and New Hampshire House proceedings since

their original complaint was filed. See, e.g., id. ¶¶ 26–27, 49, 71, 87–88.

        The remaining material added to the First Amended Complaint consists of little more

than irrelevant legal arguments, “legal conclusions couched as fact,” and “unrelieved rhetoric,”

none of which has bearing on the outcome of this motion. See Ocasio-Hernandez, 640 F.3d at 2;


1
 The plaintiffs have sought review of the First Circuit’s decision in the Supreme Court, and their petition
for writ of certiorari remains pending. See Docket, Cushing v. Packard, No. 22-178, available at
https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/22-178.html.



                                                   -4-
         Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 5 of 26




Viqueira, 140 F.3d at 15. For instance, the plaintiffs devote considerable space in their First

Amended Complaint to impugning the motives of the defendants for enacting and enforcing the

New Hampshire House Rules—and, by extension, Section 786 of the 2020 edition of Mason’s

Manual of Legislative Procedure—even going so far as to imply that the nongovernmental body

responsible for publishing the 2020 edition of Mason’s Manual, the National Conference of State

Legislatures, snuck Section 786 into the 2020 edition of Mason’s Manual for some improper

purpose. See, e.g., ECF Doc. No. 44 ¶¶ 32, 36, 37, 39, 40, 42, 43. The plaintiffs also pepper their

First Amended Complaint with their views on how New Hampshire parliamentary procedure

should operate, based largely on a misapplication of the New Hampshire House Rules,

unsourced statements purportedly made by three unnamed persons “associated with the National

Conference of State Legislators [sic],” and a misreading of the New Hampshire Supreme Court’s

opinion in Opinion of the Justices, 173 N.H. 689 (2020). See, e.g., ECF Doc. No. 44 ¶ 32–39.

The plaintiffs likewise offer conclusory assertions throughout their First Amended Complaint

that they are not challenging a legislative act, see, e.g., id. ¶¶ 16, 17, 18, 20, even though the First

Circuit already definitively resolved that question against them, see Cushing, 30 F.4th at 49–51.

The plaintiffs further imply that the defendants are somehow responsible for two of the original

plaintiffs’ deaths, see, e.g., ECF Doc. No. 44 ¶¶ 8, 10, though they offer no shred of support for

this remarkable contention.

        In the end, though, the plaintiffs seek relief in their First Amended Complaint that is

functionally identical to the relief they sought in their original complaint and their motion for a

preliminary injunction. Now, as before, they request a declaration that the defendants are

violating their rights under federal and state law by not allowing them to participate in House

floor sessions remotely and a corresponding mandatory injunction requiring the defendants to




                                                 -5-
         Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 6 of 26




allow remote participation. Compare ECF Doc. No. 44 at 40–41 with ECF Doc. No. 1 at 28–29

& ECF Doc. No. 2 at 4. The First Circuit has already comprehensively explained why the

plaintiffs cannot obtain that relief. See Cushing, 30 F.4th at 30–53. In light of the First Circuit’s

decision, and other controlling and highly persuasive authority, the Court should dismiss the

First Amended Complaint in its entirety.

                                              Argument

I.      Absolute legislative immunity bars the plaintiffs’ federal claims.

        In its en banc decision, the First Circuit systematically rejected each of the plaintiffs’

arguments for why absolute legislative immunity did not bar their claims. See Cushing, 30 F.4th

at 36–53. The court rejected, for example, the plaintiffs’ contention that they had really intended

to bring their Title II and Section 504 claims against the State itself, rather than the Speaker in

his official capacity, see id. at 37–43, while at the same time observing that the plaintiffs’ claims

would face problems, if not fail outright, even if they had been asserted against institutions rather

than officials, see, e.g., id. at 37 n.9, 40 n.12 & n.13, 42, 43. The court also rejected the

plaintiffs’ contentions that Title II and Section 504 abrogate legislative immunity, id. at 43–49,

that the acts they challenged were not legislative, id. at 49–50, and that New Hampshire law

should govern the inquiry based on notions of “comity,” id. at 50. And despite acknowledging

that the issue was “barely developed in the District Court or before the panel,” the court also

provided a lengthy explanation for why the “potential limit on immunity discussed in Kilbourn v.

Thompson, 103 U.S. 168 (1880),” did not save the plaintiffs’ claims. See id. at 50–53.

        To avoid the First Circuit’s decision, the plaintiffs must overcome two related doctrines:

the law-of-the-case doctrine and the law-of-the-circuit doctrine. The law-of-the-case doctrine

provides that “a legal decision made at one stage of a civil or criminal case, unchallenged in a




                                                 -6-
         Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 7 of 26




subsequent appeal despite the existence of ample opportunity to do so, becomes the law of the

case for future stages of the same litigation.” United States v. Matthews, 643 F.3d 9, 12 (1st Cir.

2011) (citation and quotation marks omitted). Among other things, the law-of-the-case doctrine

“bars a party from resurrecting issues that either were, or could have been, decided on an earlier

appeal.” Id. at 12–13 (same omissions). A decision on a preliminary-injunction motion is binding

under the law-of-the-case doctrine “when the record before the [court] was sufficiently

developed and the facts necessary to shape the proper legal matrix were sufficiently clear.”

Naser Jewelers, Inc. v. City of Concord, N.H., 538 F.3d 17, 20 (1st Cir. 2008) (cleaned up).

        The law-of-the-circuit doctrine is “a close cousin of the law of the case doctrine.” United

States v. Holloway, 630 F.3d 252, 258 (1st Cir. 2011). “The law of the circuit doctrine requires

[the First Circuit] (and, by extension, all lower courts within this circuit) to respect, in the

absence of supervening authority, the decision of prior panels on the same issue.” Nevow v.

Moneypenny Holdings, LLC, 842 F.3d 113, 125 (1st Cir. 2016) (citation omitted). “Once [the

First Circuit] has decided a legal question and articulated [its] reasoning, there is usually no

need . . . to repastinate the same soil when another case presents essentially the same legal

question.” Id. (citation and quotation marks omitted). The law-of-the-circuit doctrine gives way

only when an appellate decision “is undermined by controlling authority, subsequently

announced, such as an opinion of the Supreme Court, an en banc opinion of the circuit court, or a

statutory overruling” or “in those rare instances in which authority that postdates the original

decision, though not directly controlling, nevertheless offers a sound reason for believing that the

former panel, in light of fresh developments, would change its collective mind.” United States v.

Lewis, 963 F.3d 16, 23 (1st Cir. 2020) (cleaned up).




                                                 -7-
         Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 8 of 26




        The plaintiffs make several apparent attempts to evade the First Circuit’s en banc

decision through the material added to their First Amended Complaint. All are unavailing, either

because they run headlong into the First Circuit’s decision itself or because they are foreclosed

by the First Circuit’s reasoning or other controlling or highly persuasive authority. The

defendants address each attempt in turn.

        New defendants. The plaintiffs first attempt to avoid the First Circuit’s decision by

naming three new defendants in their First Amended Complaint—the Clerk of the New

Hampshire House, the House itself, and the State of New Hampshire—seemingly on the premise

that these defendants, unlike the Speaker, are precluded from invoking legislative immunity as a

defense. The First Circuit’s en banc opinion expressly forecloses such an argument with respect

to the House itself, as the court explicitly stated “that a legislative body may itself assert

legislative immunity.” Cushing, 30 F.4th at 42. The court derived this statement from the

Supreme Court’s decision in Supreme Court of Virginia v. Consumers Union of the U.S., Inc.,

446 U.S. 719 (1980), another precedent binding on this Court. Any contention that the House, as

a legislative body, cannot invoke legislative immunity accordingly lacks merit.

        First Circuit precedent likewise makes clear that the Clerk, though not a legislator, enjoys

legislative immunity for acts that are legislative in nature. See Nat’l Ass’n of Soc. Workers v.

Harwood, 69 F.3d 622 (1st Cir. 1995). In Harwood, the plaintiffs sued both the Speaker of the

Rhode Island House and its Doorkeeper to enjoin them from enforcing a rule that “purport[ed] to

ban both lobbyists and lobbying from the floor of the House while the House [was] in session.”

Id. at 625. The First Circuit concluded that both defendants were entitled to legislative immunity,

reasoning that the doctrine “must protect legislators and legislative aides who do no more than

carry out the will of the body by enforcing [a legislative] rule as part of their official duties.” Id.




                                                  -8-
         Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 9 of 26




at 631 (emphasis added). The court specifically “reject[ed] the plaintiffs’ attempts to differentiate

the Speaker from the doorkeeper, based on the fact that the latter is not a legislator,” noting that

“[t]he case law teaches that, as long as an aide’s conduct would be covered by legislative

immunity were the same conduct performed by the legislator himself, the aid shares the

immunity.” Id. at 631 n.10 (collecting cases). The plaintiffs in this case did not ask the First

Circuit to overrule Harwood when the court reheard their appeal en banc. Cf. Cushing, 30 F.4th

at 50 (citing Harwood approvingly for a different premise). Harwood therefore remains the law

of the circuit and controls here with respect to the plaintiffs’ claims against the Clerk. See

Nevow, 842 F.3d at 125. 2

        The court in Harwood relied on prior decisions to support its conclusion that legislative

immunity extends to legislative employees when performing legislative functions. See 69 F.3d at

631 n.10. More recent case law confirms that this conclusion remains sound. In Bogan v. Scott-

Harris, the Supreme Court emphasized that the applicability of legislative immunity turns on

whether the act in question is legislative in nature, not the status of the actor as a legislator. See

523 U.S. 44, 55 (1998). In Reeder v. Madigan, the Seventh Circuit concluded that two legislative

press secretaries were entitled to legislative immunity, likewise focusing on the nature of the act

in question and not who was performing it. See 780 F.3d 799, 803–04 (7th Cir. 2015). And just

last year, the D.C. Circuit emphasized that “[t]he pivotal distinction . . . is between legislative

acts and non-legislative acts” when concluding that Speaker Pelosi, the Clerk of the House, and

the House Sergeant-at-Arms were entitled to immunity under the Speech or Debate Clause on

claims challenging the enactment and enforcement of proxy voting rules. McCarthy v. Pelosi, 5


2
  It bears emphasizing that the Clerk is a constitutional officer elected by members of the House pursuant
to Part II, Article 22 of the New Hampshire Constitution and N.H. Revised Statutes Annotated § 14:2-b.
The defendants have identified no precedent that would suggest this fact makes him less entitled to
legislative immunity than an ordinary legislative employee.


                                                   -9-
        Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 10 of 26




F.4th 34, 41 (D.C. Cir. 2021), cert. denied, 142 S. Ct. 897 (2022). These decisions demonstrate

that there is no “sound reason for believing that the [Harwood] panel, in light of fresh

developments, would change its collective mind” on whether legislative aides are entitled to

immunity for legislative acts. Lewis, 963 F.3d at 23.

       The plaintiffs’ efforts to avoid legislative immunity by naming the State of New

Hampshire as a defendant fail for similar reasons. Again, “[a]bsolute legislative immunity is

justified and defined by the functions it protects and serves, not by the person to whom it

attaches.” Romero-Barcelo v. Hernandez-Agosto, 75 F.3d 23, 29 (1st Cir. 1996) (citations and

quotation marks omitted; emphasis in original). If arms of the state such as state courts and state

legislatures may invoke legislative immunity for challenges to acts that are legislative in nature,

see Consumers Union, 446 U.S. at 733; Cushing, 30 F.4th at 42, then it is hard to conceive why

the State itself could not likewise do so. To conclude otherwise would all but ignore the Supreme

Court’s teaching, previously observed by this Court, that “a basic premise of legislative

immunity is that it applies to acts, not actors.” Cushing v. Packard, 560 F. Supp. 3d 541, 550

(D.N.H. 2021) (citing Bogan, 523 U.S. at 54–55). The Supreme Court has rejected this type of

“empty formalism” in the context of other immunities. Idaho v. Coeur d’Alene Tribe of Idaho,

521 U.S. 261, 270 (1997). Legislative immunity should similarly not be “sacrificed to

elementary mechanics of captions and pleadings.” Id.

       It is true enough that the First Circuit declined to reach this issue in its en banc decision.

See Cushing, 30 F.4th at 37. But this in no way advances the plaintiffs’ cause. The First Circuit’s

decision is replete with skepticism that the State of New Hampshire, standing alone, could be a

proper defendant in this case at all. The court noted, for instance, “the seeming complexities that

would appear to arise from naming the State alone as the defendant, given that the injunctive




                                               - 10 -
        Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 11 of 26




relief sought is directed solely against the Speaker.” Id. at 37 n.9. The court likewise noted that

“the injunctive relief that the plaintiffs seek is, on their own account, relief that must run against

a legislator directly to be effective.” Id. at 49. The court further observed that the plaintiffs did

not “cite any authority to support the contention that a suit that merely names the State but then

seeks . . . equitable relief against a state legislative officer and no other actor or entity is not a

suit to which legislative immunity applies.” Id. The court noted this was not “a case in which the

entity of which the officer is sued is a part had no greater separate identity from the

State . . . than many executive departments do,” but rather one “in which the officer named in the

[original] complaint serves in one of the two houses of a coordinate branch of state government

and thus is not, for purposes of enforcing [Title II or Section 504] obviously ‘the State’—insofar

as the officer named is a stand-in for any entity—rather than either the House or the state

legislature as a whole.” Id. at 42 n.14 (citation and first set of internal quotation marks omitted).

The court also noted that, “had the plaintiffs named the State in their [original] complaint, a

question would then have arisen in relation to the relief sought as to whether the right entity had

been named, given that if the House were the proper entity (insofar as an officer suit was not

being brought) legislative immunity would have remained as a viable defense.” Id. at 42 (citing

Consumers Union, 446 U.S. at 732).

        These observations reflect an important reality: “[u]nlike the English sovereign perhaps,

an American State can only act through its officials.” Pennhurst State Sch. & Hosp. v.

Halderman, 465 U.S. 89, 114 n.25 (1984); see also Pindexter v. Greenhow, 114 U.S. 270, 288

(1885) (“The state is a political corporate body, can only act through its agents, and can

command only by laws.”). To their credit, the plaintiffs appear to acknowledge this reality in

their First Amended Complaint. Rather than focus any of their arguments and allegations on the




                                                  - 11 -
        Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 12 of 26




State of New Hampshire in the abstract, they contend that members of the House of

Representatives and, ultimately, the Speaker and the Clerk have violated their rights. See, e.g.,

ECF Doc. No. 44. ¶¶ 16–18, 41–43, 68–79, 82–84, 90–107. And, as the First Circuit predicted,

they seek relief that could only be implemented through the acts of government officials.

Cushing, 30 F.4th 49.

        The plaintiffs must thus pick their poison. If their claims against the State of New

Hampshire implicate acts that are legislative in nature, then there is no principled reason why the

State itself cannot invoke legislative immunity to the same extent as any of the other defendants.

This Court recognized as much at the earliest stages of this litigation. See Cushing, 560 Supp. 3d

at 550 (“[E]ven if the Speaker in this official-capacity action is properly characterized as the

state, that would not preclude a claim of legislative immunity under binding Supreme Court

precedent.”). If the plaintiffs instead intend to somehow untether the State of New Hampshire as

a defendant from the acts they challenge and the relief they seek, then they have only confirmed

the First Circuit’s suggestion that the State is not a proper defendant in this case at all. Either

way, the addition of the State of New Hampshire as a defendant in this case, like the addition of

the House and the Clerk, does not save the plaintiffs’ claims from dismissal on legislative-

immunity grounds. 3

        Legislative nature of challenged conduct. The plaintiffs also suggest throughout their

First Amended Complaint that the conduct they challenge is not legislative in nature. Once again,

the First Circuit’s en banc decision precludes this line of argument. In that decision, the First

Circuit rejected “the plaintiffs’ contention that legislative immunity is no obstacle to their


3
 The First Circuit also recognized that the plaintiffs’ claims against the State of New Hampshire
implicate Eleventh Amendment immunity. See, e.g., Cushing, 30 F.4th at 40 n.13. Though the defendants
do not press an Eleventh Amendment argument now, they expressly reserve the right to do so if this case
survives dismissal on legislative-immunity grounds.


                                                 - 12 -
        Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 13 of 26




obtaining an emergency injunction because their federal claims do not seek to hold the Speaker

liable for any ‘legislative act.’” Cushing, 30 F.4th at 49. The court observed, among other things,

that “voting by Members itself constitutes a legislative act, and the plaintiffs request an

accommodation with respect to the House rules that purport to bar the remote participation that

they seek.” Id. (citation and quotation marks omitted). The court declined to find “a material

difference between [the plaintiffs’] requested injunctive relief and a request for relief that would

seek to dictate the setting of the rules themselves.” Id. (citing Consumers Union, 446 U.S. 726,

728–29). The court also rejected the plaintiffs’ contention that they challenged activities that

were “merely casually or incidentally related to legislative affairs,” observing that

“determinations about the procedures by which House members may cast votes are not so easily

characterized,” that the plaintiffs had not “identif[ied] any authority that would support a ‘casual’

or ‘incidental’ characterization,” and that the D.C. Circuit’s decision in McCarthy took the

opposite view. Id. at 49–50 (citations and first set of internal quotation marks omitted).

       The plaintiffs attempt to resist the First Circuit’s decision by suggesting in their First

Amended Complaint that there is not, in fact, any House rule that precludes remote participation

in House floor sessions. They contend, in essence, that the First Circuit (and by extension this

Court) erred in concluding that Section 786 of the 2020 edition of Mason’s Manual governs

remote participation in floor sessions, as another section of Mason’s Manual contemplates that

“constitutional provisions and judicial decisions thereon” take precedence over rules contained in

Mason’s Manual. ECF Doc. No. 44 ¶ 33. They further contend that the New Hampshire Supreme

Court’s decision in Opinion of the Justices “specifically authoriz[ed] remote attendance in

participation” in House floor sessions. Id. ¶¶ 32, 33. The plaintiffs believe that the Opinion of the

Justices “trumps” Section 786. Id. ¶ 33.




                                               - 13 -
        Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 14 of 26




       These arguments face an obstacle right out of the gate: the plaintiffs could have made

them (and at various points did) during the prior proceedings in this case. See, e.g., Cushing, 560

F. Supp. 3d at 548 (“And while Plaintiffs argue that the House does not strictly enforce House

Rule 65 or applicable rules from Mason’s Manual, it is not the role of this federal court to pick

and choose among competing understandings of the internal rules of a state legislative body.”).

The law-of-the-case doctrine “bars a party from resurrecting issues that either were, or could

have been, decided on an earlier appeal.” Matthews, 643 F.3d at 12 (citation and quotation marks

omitted; emphasis added). Though the plaintiffs have filed a petition for writ of certiorari with

the Supreme Court, they do not contend that the First Circuit erred in concluding that the acts

they challenge are legislative in nature. Having had ample opportunity to advance these

arguments previously, the plaintiffs must live with the First Circuit’s decision. See Matthews,

643 F.3d at 12.

       In any event, the arguments lack merit. It is well-established under both federal and New

Hampshire precedent that the interpretation of the meaning of a parliamentary rule presents a

nonjusticiable political question. In Nixon v. United States, for example, the U.S. Supreme Court

declined to decide whether a Senate Rule governing impeachment proceedings violated the

Impeachment Clause. See 506 U.S. 224, 226 (1993). More pertinently, the New Hampshire

Supreme Court made clear in Starr v. Governor that “the legislature, alone, has complete control

and discretion whether it shall observe, enforce, waive, suspend, or disregard its own rules of

procedure.” 154 N.H. 174, 178 (2006) (emphasis added). Furthermore, asking a federal court to

declare how a state parliamentary rule operates is incompatible with the Eleventh Amendment.

See Pennhurst State Sch. & Hosp., 465 U.S. at 105–06. Thus, this Court lacks jurisdiction to the




                                               - 14 -
        Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 15 of 26




extent the plaintiffs ask it to weigh in on how the New Hampshire House’s parliamentary rules

operate. See Cushing, 560 F. Supp. 3d at 548.

        The plaintiffs will likely argue, as they have in the past, that the New Hampshire

Supreme Court’s decision in Burt v. Speaker of the House of Representatives holds otherwise.

See, e.g., ECF Doc. No. 20 at 9–10. This argument still has no merit. Nothing in Burt

contemplates that any court (much less a federal court subject to Eleventh Amendment

constraints) may declare how state rules of parliamentary procedure operate. To the contrary, the

New Hampshire Supreme Court recognized in Burt that “courts generally consider that the

legislature’s adherence to rules and statutes prescribing procedure is a matter entirely within

legislative control and discretion, not subject to judicial review unless the legislative procedure is

mandated by the constitution.” 173 N.H. 522, 526 (2020) (cleaned up; emphasis in original). The

court thus drew a distinction between “claims regarding the legislature’s compliance with such

rule-based and statutory procedures,” which “are not justiciable,” and “claims regarding

compliance with mandatory constitutional provisions,” which “are justiciable.” Id. (cleaned up).

The court concluded that the constitutional challenge presented in Burt constituted the latter sort

of claim, not the former. See id. at 523–24.

        The defendants do not dispute for the purposes of this motion that the plaintiffs’ claims

are justiciable in the abstract to the extent the plaintiffs seek relief for purported violations of

federal statutory and constitutional law. Of course, this has no bearing on whether those claims

are nonetheless barred by legislative immunity under federal common law, a necessarily

subsequent question that is in no way dependent on state law, see Cushing, 30 F.4th at 50, and

was not addressed in Burt at all. But to the extent the plaintiffs seek to bind their claims to the

antecedent question of whether the defendants are properly observing House parliamentary




                                                 - 15 -
        Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 16 of 26




procedure in the first place, then that question is plainly nonjusticiable under New Hampshire

Supreme Court precedent. Starr, 154 N.H. at 178. A careful reading of Burt only confirms this

point. See 173 N.H. at 526.

        Ultimately, however, the plaintiffs’ parliamentary procedure arguments would fail on the

merits even if the law-of-the-case doctrine and justiciability were not impediments to reaching

them. The plaintiffs premise those arguments on Section 4.2 of Mason’s Manual, which sets an

order of precedence for rules of parliamentary procedure. ECF Doc. No. 44 ¶ 33. The plaintiffs’

reliance on Section 4.2 is curious, given that the New Hampshire House Rules already contain an

order of precedence under which the House Rules take precedence over Mason’s Manual. See

House Rule 65(b), (d), available at https://www.gencourt.state.nh.us/house/aboutthehouse/

houseRules.pdf. The plaintiffs presumably prefer the order of precedence in Section 4.2 of

Mason’s Manual because, unlike House Rule 65, it makes specific reference to “constitutional

provisions and judicial decisions thereon,” ECF Doc. No. 44 ¶ 33 (emphasis added), which the

plaintiffs might feel provides a clearer path to the Opinion of the Justices on which they

principally rely, see id. ¶¶ 32, 33. The defendants fail to see how this additional language

matters, given that the New Hampshire Supreme Court is already the “final arbiter” when it

comes to the “construction of constitutional provisions.” State v. Mack, 173 N.H. 793, 801

(2020). Still, it is telling that the plaintiffs premise their argument that the defendants are

incorrectly applying parliamentary procedure on their own clear misapplication of House Rule

65. 4

        Under House Rule 65, Mason’s Manual controls House parliamentary procedure in the

absence of a constitutional provision, House Rule, or custom, usage, or precedent to the contrary.

4
 That the plaintiffs base this misapplication at least in part on how three unnamed persons “associated
with the National Conference of State Legislators [sic]” believe House parliamentary procedure should
operate is equally telling. See ECF Doc. No. 44 ¶ 32.


                                                  - 16 -
        Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 17 of 26




House Rule 65(a)–(d), available at https://www.gencourt.state.nh.us/house/aboutthehouse/

houseRules.pdf. The plaintiffs contend that the Opinion of the Justices takes precedence over

Section 786 of Mason’s Manual with respect to remote participation in House floor sessions.

They anchor this contention in a belief that the that the Opinion of the Justices “specifically

authoriz[es] remote attendance and participation of representatives” in House floor sessions. ECF

Doc. No. 44 ¶ 33. To the extent the plaintiffs use the word “authorizes” to mean “requires,” they

overstate what the Opinion of the Justices actually says.

        The Opinion of the Justices concerned a single, narrow issue: whether “holding a session

remotely, either in whole or in part, whereby a quorum could be determined electronically,

would not violate Part II, Article 20”—the provision of the New Hampshire Constitution

governing House quorums. See 173 N.H. at 690–92. The court answered this question in the

negative. Id. at 691. But in doing so, the court expressly declined to reach whether virtual

participation in House proceedings might violate other provisions of the State Constitution. See

id. The court further noted that “it is within the competency of the house to prescribe any method

which shall be reasonably certain to ascertain the presence of a quorum,” which the House could

do under its constitutional authority “to adopt its own rules of proceedings.” Id. at 699 (citing

N.H. Const. pt. II, art. 22).

        The Opinion of the Justices might generously be read for the proposition that “the New

Hampshire Constitution d[oes] not prohibit remote participation by representatives in House

proceedings.” Cushing, 30 F.4th at 32 (citations omitted; emphasis added). But that does not

mean that the State Constitution requires remote participation. There is nothing in the Opinion of

the Justices that implies, let along imposes, such a requirement. Rather, having resolved the sole

question before it, the New Hampshire Supreme Court left it to the House to determine,




                                               - 17 -
        Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 18 of 26




consistent with its constitutional authority “to adopt its own rules of proceedings,” the manner in

which remote participation in House proceedings might occur. Opinion of the Justices, 173 N.H.

at 699. The House’s ultimate adoption of a default rule generally prohibiting remote participation

in House floor sessions absent a vote to enact a more specific rule permitting such participation

is wholly in keeping with the constitutional authority recognized in the Opinion of the Justices.

See id. The plaintiffs’ suggestion that such a default rule is “contrary” to the Opinion of the

Justices, ECF Doc. No. 44 ¶ 33, is irreconcilable with what that decision actually says.

       In a different tack, the plaintiffs seek to draw a distinction between the enactment of a

rule of parliamentary procedure, which they appear to concede is a legislative act, and the

execution or enforcement of such a rule, which they contend is purely administrative. Because

the First Circuit already rejected this argument in its en banc decision, see Cushing, 30 F.4th at

49–50, the plaintiffs are foreclosed from reviving it now, see Matthews, 643 F.3d at 12. This

argument is also foreclosed by Harwood, where the First Circuit concluded that “the doctrine of

legislative immunity must protect legislators and legislative aides who do no more than carry out

the will of the body by enforcing [a] rule as part of their official duties.” 60 F.3d at 631 (citations

omitted). And it is likewise at odds with several other circuit court decisions that have declined

to draw a distinction between the enactment of a parliamentary rule and its execution. See

McCarthy, 5 F.4th at 40–41; Reeder, 780 F.3d at 800–01; Consumers Union of U.S., Inc., 515

F.2d 1341, 1351 (D.C. Cir. 1975).

       The D.C. Circuit’s recent analysis of this issue in McCarthy is of particular note. There,

the plaintiffs challenged a U.S. House resolution that allowed for proxy voting due to the

pandemic. McCarthy, 5 F.4th at 36–37. In arguing that the Speech or Debate Clause did not bar

their challenge, the plaintiffs sought “to draw a fundamental divide between the enactment of




                                                - 18 -
        Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 19 of 26




legislation and the execution of it.” Id. at 40. The court concluded that this argument did not

“withstand scrutiny,” because “[t]he salient distinction under the Speech or Debate Clause is not

between enacting legislation and executing it,” but rather “between legislative acts and non-

legislative acts.” Id. at 41. The court emphasized that immunity under the Speech or Debate

Clause “encompasses the execution of legislation when the executing actions themselves

constitute legislative acts.” Id. The court concluded that a resolution that “establishes internal

rules governing the casting of votes by Members” and “conduct implementing the . . . resolution”

is “itself a legislative act, pertaining directly to the consideration and passage or rejection of

proposed legislation” that “falls comfortably within the immunity afforded by the Speech or

Debate Clause.” Id. at 41.

       Drawing on this analysis, the First Circuit concluded in its en banc decision that “the

decision by the Speaker of the House to follow . . . rules for the manner of members’

participation in floor proceedings (including with respect to the casting of votes) was “a

‘quintessential legislative act.’” Cushing, 30 F.4th at 53 (quoting McCarthy, 5 F.4th at 39). As

previously discussed, the plaintiffs seek the same relief in their First Amended Complaint that

they sought in their original complaint and their motion for a preliminary injunction.

Accordingly, the First Circuit’s reasoning, even if it were not binding, has just as much force

now as it did with respect to the plaintiffs’ request for a preliminary injunction. In light of that

decision, and the other decisions just discussed, the plaintiffs’ attempts to distinguish between

the enactment and execution of the House Rules and Section 786 are misplaced.

       Motives of the defendants. The plaintiffs also seek to sidestep legislative immunity by

impugning the motives of the Speaker, the Clerk, and the House as a legislative body for

adopting and executing Section 786 of Mason’s Manual. See, e.g., ECF Doc. No. 44 ¶¶ 32, 36,




                                                - 19 -
        Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 20 of 26




37, 39, 40, 42, 43. They likewise suggest throughout their First Amended Complaint that the

defendants are enforcing Section 786 solely to gain a “partisan advantage.” See, e.g., id. ¶¶ 40,

60, 75, 106, 158. Remarkably, the plaintiffs also imply—without so much as a shred of

support—that the defendants’ conduct contributed to the deaths of two of the original plaintiffs.

See id. ¶¶ 8, 10. While the defendants intend to vigorously refute these inflammatory contentions

if this case proceeds past the motion-to-dismiss stage, for present purposes they are little more

than empty rhetoric.

       The Supreme Court could not be clearer that a defendant’s motives play no role in the

legislative-immunity analysis. In Tenney v. Brandhove, the Supreme Court observed that

legislative immunity “would be of little value if [legislators] could be subjected to the cost and

inconvenience and distractions of a trial upon a conclusion of a pleader, or to the hazard of a

judgment against them based upon a jury’s speculation as to motives.” 341 U.S. 367, 377 (1951).

The Court emphasized “that it was not consonant with our scheme of government for a court to

inquire into the motives of legislators . . . .” Id. The Court acknowledged that “[i]n times of

political passion, dishonest and vindictive motives are readily attributed to legislative conduct

and as readily believed.” Id. at 378. The Court made clear, however, that “[c]ourts are not the

place for such controversies,” and that “[s]elf-discipline and the voters must [instead] be the

ultimate reliance for discouraging or correcting such abuses.” Id. The Court further cautioned

that any judicial inquiry “should not go beyond the narrow confines of determining that a

[challenged act] may fairly be deemed within [the legislature’s] province.” Id.

       The Supreme Court reiterated and refined these observations in Bogan. The petitioners

there had sought review of a determination by the First Circuit that a jury’s findings with respect

to the petitioners’ motives when passing an ordinance demonstrated that their actions were not




                                               - 20 -
        Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 21 of 26




legislative in nature. Bogan, 523 U.S. at 47–48. Tracing the history of legislative immunity, the

Supreme Court emphasized that “it certainly cannot be argued that the motives of the individual

members of a legislative assembly, in voting for a particular law, can be inquired into, and its

supporters be made personally liable, upon an allegation that they acted maliciously toward the

person aggrieved by the passage of the law.” 523 U.S. at 50 (citation, quotation marks, and

brackets omitted). The Court noted that the First Circuit “erroneously relied on the petitioners’

subjective intent in resolving the logically prior question of whether their acts were legislative.”

Id. at 54. The Court made clear that “[w]hether an act is legislative turns on the nature of the act,

rather than on the motive or intent of the official performing it.” Id. The Court concluded that,

“stripped of all considerations of intent and motive, petitioners’ acts were legislative.” Id. at 55.

       Tenney and Bogan leave no doubt that the plaintiffs’ motives-based contentions are

nonstarters. If anything, the plaintiffs’ invocation of partisanship only further demonstrates why

legislative immunity applies in this case. See Tenney, 341 U.S. at 378; see also Cushing, 30 F.4th

at 52 (observing that “[t]oo narrow a construction of [legislative immunity]” invites “warring

sides in partisan state legislators’ battles improperly enlisting federal judges to participate in

them”). Thus, this argument, too, fails to save the plaintiffs’ claims. The Court should reject any

suggestion to the contrary.

       Kilbourn v. Thompson. Finally, the plaintiffs seek to avoid dismissal by invoking the

exception to legislative immunity contemplated in Kilbourn v. Thompson. They contend that the

defendants “have deliberately created an extraordinary dilemma for the disabled—they can either

place themselves and their families at an extreme risk of death, or they can forego participation

in democratic institutions, thus leaving their constituents unrepresented.” ECF Doc. No. 44 ¶ 42.

While the plaintiffs suggest that this argument is based on “newly discovered facts and legal




                                                - 21 -
        Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 22 of 26




developments,” id. ¶ 41, it is in fact one they have been making since the inception of this case,

see, e.g., ECF Doc. No. 2-1 at 2 (arguing that “without the option of remote attendance, the

Plaintiffs must choose between putting themselves at the risk of serious injury/death or leaving

their constituents unrepresented in the legislature”). It is also an argument that the First Circuit

definitively rejected in its en banc decision.

       To be sure, the First Circuit noted that the plaintiffs’ Kilbourn-based argument was

“barely developed in the District Court or before the panel.” Cushing, 30 F.4th at 50. The court

further observed that the issue before it was narrow—whether this Court “erred in making the

only ruling that [was challenged on] appeal: denying a request for emergency relief against the

Speaker due to the Speaker’s decision not to make the kind of accommodation with respect to

House Rule 65 that the plaintiffs seek.” Id. at 52. But the court went on to emphasize that:

       •   the circumstances of this case were readily distinguishable from the “acts of
           an extraordinary character” that the Supreme Court in Kilbourn suggested
           might fall beyond the scope of immunity, id. at 50–51;

       •   the fact that the plaintiffs’ claims implicate important statutory rights did not
           mean that the Kilbourn exception applied, id. at 51;

       •   there was nothing extraordinary about the Speaker’s “decision to follow—
           rather than depart from—existing House rules that were overwhelmingly
           passed and that were predicated on a general handbook for setting such rules
           for all legislatures generally,” id.;

       •   the Speaker’s conduct did not “target any class of legislators either expressly
           or through clever artifice,” id.;

       •   “this case [was] distinct from Powell v. McCormack, 365 U.S. 486 (1969),”
           id.; and

       •   “[t]oo narrow a construction of [the] immunity—and one not sufficiently
           respectful of the high bar that Kilbourn plainly intended to set for stripping
           seemingly protected acts from the cover the immunity convers—invites
           abuses,” including “federal judges improperly intruding into internal state
           legislative affairs” and “warring sides in partisan state legislators’ battles
           improperly enlisting federal judges to participate in them,” id. at 53.


                                                 - 22 -
        Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 23 of 26




        None of the material the plaintiffs have added to First Amended Complaint undermines

these observations. For the most part, the plaintiffs resort to “bald conclusions” and “unrelieved

rhetoric,” Viqueira, 140 F.3d at 15, regarding the defendants’ motives, which, in addition to

finding no support in anything approaching a well-pleaded fact, are irrelevant for the reasons

previously stated. The plaintiffs otherwise try to avoid the First Circuit’s discussion of Kilbourn

by making assertions that are implausible on their face. They contend, for example, that National

Conference of State Legislatures’ decision to include Section 786 in the 2020 edition of Mason’s

Manual, and the House’s subsequent adoption Mason’s Manual as a parliamentary guide with

overwhelming bipartisan support, was somehow a “‘clever artifice’ designed to discriminate

against disabled Democratic legislators.” ECF Doc. No. 44 ¶ 34. 5 Elsewhere, they contend that

the equal application of a rule of parliamentary procedure generally precluding remote

participation in House floors sessions unless the House votes otherwise is “really not

fundamentally different from pointing a gun to the heads of the Individual plaintiffs to block

them from entering the House.” Id. ¶ 42.

        But, again, the plaintiffs seek the same relief now that they have since the beginning of

this case. The First Circuit concluded that this relief, when sought through the plaintiffs’ request

for a preliminary injunction, challenged the enactment and execution of a neutral rule of

parliamentary procedure governing “the manner of members’ participation in floor proceedings

(including with respect to the casting of votes).” Cushing, 30 F.4th at 53. The First Circuit

declined to “constru[e] Kilbourn in a manner that would deem such a ‘quintessentially legislative

5
  Notably, the Clerk stated in his affidavit in support of the Speaker’s objection to the plaintiffs’ motion
for a preliminary injunction that prior to the House’s January 6, 2021 vote to adopt the 2020 version of
Mason’s Manual as a parliamentary guide, he “had provided the Republican and Democratic Leadership
teams a detailed memo from the National Conference of State Legislatures showing the changes to the
2020 version of [Mason’s Manual],” including “the addition of Section 786, titled ‘Remote Participation
in Floor Sessions.’” ECF Doc. No. 17-2 ¶ 12.


                                                   - 23 -
        Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 24 of 26




act’” as “beyond the protection of the immunity that has been historically afforded to such an

act.” Id. (quoting McCarthy, 5 F.4th at 39). Other courts have been similarly wary of finding the

“mundane matter” of “accesses to the floors of [state legislative bodies]” outside of the scope of

legislative immunity’s protection. Reeder, 780 F.3d at 804.

       None of the assertions in the First Amended Complaint, however strident they may be,

converts the “quintessentially legislative” conduct that the plaintiffs actually challenge into the

type of “act” of an “extraordinary character” that Kilbourn contemplated might not be afforded

such protection. Cushing, 30 F.4th at 50; see id. at 50–51 (noting that “the Court in Kilbourn

considered as a possibility, that ‘members of [Congress could go] so far to forget their high

functions and the noble instrument under which they act as to imitate the Long Parliament in the

execution of the Chief Magistrate of the nation, or to follow the example of the French Assembly

in assuming the function of a court for capital punishment’” (quoting 103 U.S. at 204–05)).

Indeed, given the trajectory of the pandemic, including the now widespread availability of

treatments and vaccinations, see, e.g., Pietrangelo v. Sununu, 15 F.4th 103, 105–06 (1st Cir.

2021), this is now a far less “extraordinary” case than it was when the plaintiffs brought it. The

plaintiffs’ attempts to invoke Kilbourn are therefore unavailing. This Court should reject them.

II.    The Court should dismiss the plaintiffs’ state-law claims based on Eleventh
       Amendment immunity or otherwise decline supplemental jurisdiction over those
       claims.

       The plaintiffs also assert two violations of the New Hampshire Constitution—one under

Part I, Article 11 and one under Part I, Article 22. ECF Doc. No. 44 ¶¶ 146–159. The plaintiffs

advance these claims despite facing arguments from this case’s earliest stages that the Eleventh

Amendment precludes a federal court from adjudicating causes of action premised on violations

of state, rather than federal, law. See ECF Doc. No. 17-1 at 12–13; ECF Doc. No. 40 ¶ 12. This




                                               - 24 -
        Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 25 of 26




principle is just as well-established now as it was when the plaintiffs filed their original

complaint. See Pennhurst State Sch. & Hosp., 465 U.S. at 121; Courthouse New Serv. v.

Quinlan, 32 F.4th 15, 22 (1st Cir. 2022); Doe v. Shibinette, 16 F.4th 894, 903–04 (1st Cir. 2021).

The Court should therefore dismiss the plaintiffs’ state-law claims based on Eleventh

Amendment immunity.

       Alternatively, the Court should decline supplemental jurisdiction over the state-law

claims. “[A] district court may decline to exercise supplemental jurisdiction when it has

dismissed all claims over which it has original jurisdiction.” Signs for Jesus v. Town of

Pembroke, NH, 977 F.3d 93, 114 (1st Cir. 2020) (citing 28 U.S.C. § 1367). Having dismissed the

plaintiffs’ federal claims based on absolute legislative immunity, the Court may properly decline

supplemental jurisdiction over their state-law claims. This provides an alterative basis to dismiss

those claims.

                                             Conclusion

       For the foregoing reasons, the Court should dismiss the plaintiffs’ First Amended

Complaint in its entirety.



                                               Respectfully submitted,

                                               Sherman Packard, in his official capacity as Speaker
                                               of the New Hampshire House of Representatives;
                                               Paul Smith, in his official capacity as Clerk of the
                                               New Hampshire House of Representatives; the New
                                               Hampshire House of Representatives; and the State
                                               of New Hampshire

                                               By their attorney,

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                                                - 25 -
        Case 1:21-cv-00147-LM Document 51-1 Filed 09/23/22 Page 26 of 26




Dated: September 23, 2022                    /s/ Samuel Garland
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served on all counsel of record using the

Court’s electronic-filing system.



                                             /s/ Samuel Garland
                                             Samuel R.V. Garland




                                              - 26 -
